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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK


 ALEXANDRIA HOLLOWAY                      )                    Case No.
                     Plaintiff,           )
       v.                                 )               COMPLAINT
                                          )          JURY TRIAL DEMAND
 CITY OF NEW YORK;                        )
 JOHN AND JANE DOES #1-50                 )
                     Defendants.          )
 _______________________________)

                           PRELIMINARY STATEMENT

       1.     In the aftermath of the police killings of George Floyd and Breonna

 Taylor, thousands of New Yorkers participated in daily protests for several months

 against racist police violence and brutality. Consistent with its longstanding pattern

 and practice, the New York Police Department (“NYPD”) and its officers responded

 to the protests with violence: Officers repeatedly and without cause or justification

 brutalized (with batons, fist strikes, pepper spray, and other physical force), detained,

 and arrested hundreds of protestors, medical and legal workers, and bystanders at

 protests. The NYPD’s sole purpose was to suppress and terrorize protesters.




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       2.     Alexandria Holloway was one of many New Yorkers who was violently

 attacked and unlawfully arrested by the NYPD. While Ms. Holloway was peacefully

 protesting in Brooklyn, a NYPD officer charged at her, tackled her to the ground,

 and beat her with his baton. The attacking officer then arrested her without cause.

 Ms. Holloway subsequently asked a commanding officer why he was allowing

 officers to violently arrest peaceful protestors. The commanding officer responded

 by calling her a “bitch” and slamming her head into the window of a bus. As a result

 of this brutal attack, Ms. Holloway suffered physical and emotional injuries,

 including nerve and optical damage, that threaten her career as a professional

 photographer. Ms. Holloway seeks monetary damages for the violation of her

 common law, statutory, and constitutional rights.

                             JURISDICTION AND VENUE

       3.     The Court has jurisdiction over Plaintiff’s federal claims pursuant to 28

 U.S.C. §§ 1331 and 1343(a), and over to Plaintiff’s state law claims pursuant to 28

 U.S.C. § 1367(a).

       4.     Venue lies in the Eastern District of New York under 28 U.S.C.§

 1391(b)(2) because a substantial part of the events giving rise to Plaintiff’s claim

 occurred in the District.



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                                      PARTIES

       5.      Plaintiff Alexandria Holloway is a 34-year-old woman. She is—and, at

 all times discussed herein, was—a resident of Brooklyn, New York.

       6.      Defendant City of New York is a municipal entity created and

 authorized under the laws of the State of New York. Defendant City of New York

 can be sued in its own name. Defendant City of New York is authorized by law to

 maintain a police department—the NYPD—which acts as its agent in the area of law

 enforcement and for which it is ultimately responsible. Defendant City of New York

 was at all times discussed herein the public employer of Defendants NYPD Officers

 John and Jane Does #1-50.

       7.      Defendants NYPD Officers John and Jane Does #1-50 are uniformed

 members of the NYPD whose identities are unknown at this time and who, on

 information and belief, are assigned to various NYPD precincts throughout

 Brooklyn. Defendants John and Jane Does were at all times relevant and discussed

 herein acting under color of law; in the course and scope of their duties and functions

 as officers, agents, servants and employees of Defendant City of New York; and was

 acting for, and on behalf of, and with the power and authority vested in them by

 Defendant City of New York and the NYPD. They are sued in their individual

 capacities.

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                                    JURY DEMAND

         8. Plaintiff Alexandria Holloway demands a jury trial.

                               STATEMENT OF FACTS

    I.         NYPD’s Unlawful and Unconstitutional Conduct During the Cadman
               Plaza Protest

         9.      Plaintiff Alexandria Holloway is a New York City based photographer.

 Her photography has appeared in major magazines, including Esquire, Harper’s

 Bazaar, and Women’s Health.

         10.     On June 3, 2020, Ms. Holloway attended a peaceful protest march with

 over a thousand other New Yorkers, which began at Barclays Center in Brooklyn

 and ended at Cadman Plaza West and Tillary Street (“Cadman Plaza Protest”).

         11.     The protesters were loudly and conspicuously demonstrating against

 police violence and brutality.

         12.     At 8:00 p.m., a citywide curfew went into effect.

         13.     When the protestors reached Cadman Plaza, they encountered a line of

 NYPD officers blocking their route onto the Brooklyn Bridge.

         14.     Some of the protestors attempted to speak with NYPD officers at the

 scene to request that the group be allowed to proceed onto the Bridge.




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       15.    When it became clear that NYPD officers would not allow the

 protestors to continue onto the bridge, some of the protestors began to disperse.

       16.    Ms. Holloway and the other protestors who did not disperse remained

 assembled in Cadman Plaza.

       17.    Thereafter, a large group of NYPD officers approached from the rear

 and surrounded the remaining protestors.

       18.    Suddenly, at approximately 9:00 p.m., around the time when it began

 to rain, the NYPD officers, without provocation, began to charge at the protesters,

 screaming at them to “move,” shoving them as they attempted to flee, and beating

 them with batons. 1

       19.    The officers did not give a dispersal order, or any other directives, to

 the protestors before they charged at and began beating them.

       20.    The rain became heavy as the incident unfolded.

       21.    The officers took advantage of the weather conditions and decreased

 visibility to sow confusion and act with impunity.

       22.    After charging at, assaulting, and beating the protesters, the officers

 began indiscriminately arresting them.


 1
  The NYPD officers involved in the attack are named here as Defendants NYPD Officers John
 and Jane Does #5-50.

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          23.     The officers had no cause or justification for arresting the protestors.

          24.     At no time during the Cadman Plaza Protest were NYPD officers in

 physical danger, let alone imminent danger.

          25.     There was no violence and no threat of violence—other than by the

 NYPD—when NYPD officers charged into the crowd and started beating protesters.

          26.     There was no violence and no threat of violence—other than by the

 NYPD—as the officers continued to beat protesters until the crowd fully dispersed.

          27.     There was no violence and no threat of violence—other than by the

 NYPD—as the officers arrested protestors whom they previously beat.

          28.     New York City Public Advocate Jumaane Williams was present at the

 protest and livestreamed portions of it on Twitter.

          29.     Public Advocate Williams repeatedly stated, live on video, that the

 protest was exclusively peaceful and that no violence or looting was occurring.

          30.     As he watched police manhandle peaceful protesters, Public Advocate

 Williams repeatedly asked them, “Why?” He got no response.

          31.     Ms. Holloway was one of many peaceful protestors at the Cadman

 Plaza Protest who was attacked, brutalized, and arrested by NYPD officers.

    II.         NYPD Officers Battered, Unlawfully Arrested, and Interrogated
                Plaintiff Holloway


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       32.    At or around 9:00 p.m., after NYPD officers began their brutal assault

 on peaceful protestors, Defendant NYPD Officer John Doe #1 (“Defendant John

 Doe #1”), a white male with black hair and dressed in riot gear, charged at Ms.

 Holloway with his baton and violently pushed her to the ground.

       33.    Ms. Holloway was peacefully walking down Cadman Plaza with other

 protestors when Defendant John Doe #1 violently pushed her to the ground.

       34.    Ms. Holloway posed no threat to Defendant John Doe #1 when he

 violently attacked and pushed her to the ground.

       35.    After pushing Ms. Holloway to the ground, Defendant John Doe #1

 struck her multiple times in her head, arms, shoulders, and back with his baton.

       36.    During the attack, Ms. Holloway laid on the ground, with her eyes

 closed and hands over her head, in order to limit the impact of Defendant’s strikes.

       37.    After beating Ms. Holloway multiple times with his baton, Defendant

 John Doe #1 handcuffed Ms. Holloway.

       38.    Defendant John Doe #1 fastened the handcuffs so tight that they caused

 Ms. Holloway’s wrists to bruise.

       39.    Two female NYPD officers, Defendant NYPD Officer Jane Doe #2 and

 Defendant NYPD Officer Jane Doe #3 (“Defendants Jane Does #2 and #3”), assisted

 Defendant John Doe #1 in arresting Ms. Holloway.

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       40.    Defendant John Doe #1 handed Ms. Holloway to Defendants Jane Does

 #2 and #3, who secured Ms. Holloway’s handcuffs to their persons and walked her

 to a bus that would transport her to a jail.

       41.    Defendant John Doe #1 and Defendants Jane Does #2 and #3 did not

 tell Ms. Holloway why she was being arrested or advise her of her rights.

       42.    No NYPD officer gave Ms. Holloway a dispersal order before she was

 attacked and arrested.

       43.    Ms. Holloway was not violent and posed no threat of violence before,

 during, or after she was attacked and arrested by NYPD officers.

       44.    While Defendants Jane Does #2 and #3 were walking Ms. Holloway to

 the bus, Ms. Holloway asked a tall Black male commanding NYPD officer who was

 wearing a white shirt, Defendant NYPD Officer John Doe #4 (“Defendant John Doe

 #4”), why he was allowing NYPD officers to violently arrest peaceful protestors.

       45.    Defendant John Doe #4 responded by calling Ms. Holloway a “bitch”

 and slamming her head into the window of the transportation bus.

       46.    Ms. Holloway was handcuffed when Defendant Officer John Doe #4

 slammed her head into the bus.

       47.    Ms. Holloway was then placed into the bus and taken to New York City

 Police Central Booking in Brooklyn (“Central Booking”).

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       48.    No NYPD officer offered or provided medical aid to Ms. Holloway.

       49.    While Ms. Holloway was being booked at Central Booking, NYPD

 officers searched her person and seized her personal property.

       50.    After Ms. Holloway was booked, NYPD Detective Wendell Stradford

 directed her to a small room in the precinct and interrogated her.

       51.    Detective Stradford did not advise Ms. Holloway of her rights—

 including providing a Miranda warning or advising her of her right to counsel—

 before interrogating her.

       52.    Ms. Holloway did not consent to the interrogation.

       53.    After Detective Stradford interrogated Ms. Holloway, she was taken to

 a holding cell, where she remained until her release.

       54.    Ms. Holloway was not offered a phone call and was deprived of

 meaningful access to food, water, bathroom, soap, other hygiene products, and other

 basic necessities while she was incarcerated.

       55.    Ms. Holloway was released from Central Booking at 4 a.m., seven

 hours after she was arrested.

       56.    Ms. Holloway sustained physical and emotional injuries as a result of

 the unlawful police conduct described.



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       57.     Her physical injuries include, but are not limited to, concussions;

 bruising; bodily pain, including headaches and neck pains; and nerve and optical

 damage, which threaten her career as a professional photographer.

       58.     Since Ms. Holloway was assaulted, beaten, and jailed by NYPD

 officers, she has had to reduce the number of days she works per week, and her

 ability to perform routine work functions has been impaired.

       59.     Ms. Holloway cannot, for instance, use ladders when conducting

 photoshoots (an integral part of her job) and must take frequent rest breaks during

 work to accommodate her symptoms.

       60.     Additionally, Ms. Holloway has been forced to limit the amount of time

 she spends reading, using the computer, and traveling by train and car, because they

 cause her pain, nausea, and fatigue.

       61.     Ms. Holloway’s mental and emotional health has also been impaired.

 She has, among other things, endured mental and emotional anguish and increased

 anxiousness when she is in large groups or in the vicinity of police officers.

    III.     NYPD Systematically Used Excessive Force and Unlawful Detentions
             and Arrests to Suppress the Widespread Protests that Occurred After
             the Police Killings of George Floyd and Breonna Taylor

       62.     Ms. Holloway’s experience was not unique. NYPD systematically used

 excessive force and unlawful detentions and arrests to suppress large-scale protests

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 that occurred in the wake of the police killings of George Floyd and Breonna Taylor.

 The protests began on May 28, 2020 and continued on a near-daily basis in every

 borough of New York City for several months thereafter (the “Protests”).

       63.    Like the Cadman Plaza Protest, the vast majority of the Protests were

 peaceful: NYPD Commissioner Dermot F. Shea acknowledged that New Yorkers

 who attended the protests “overwhelmingly [] are good people coming out to voice

 their opinion.” NYPD Chief Terence A. Monahan also admitted in a public statement

 that “the vast majority of people are out there to express their views.”

       64.    In response to these largely peaceful Protests, and like the Cadman

 Plaza Protest, NYPD officers repeatedly and without justification used batons, fist

 strikes, pepper spray, and other physical force, all of which constitute excessive

 force, against people peacefully protesting police brutality, continuing its custom,

 policy, or usage of suppressing peaceful protests with excessive force.

       65.     The NYPD also effected mass arrests and detained protesters without

 cause or justification, continuing its custom, policy, or usage of suppressing peaceful

 protests with unlawful detentions and arrests.




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            66.   In July 2020, the New York State Attorney General (the “AG”) issued

 a preliminary report on the NYPD’s response to the Protests (“AG Report”). 2

            67.   The AG Report found that most complaints received by the AG were

 allegations of excessive force— against protestors, the press, legal observers, elected

 officials, and essential workers—and unlawful arrests.

            68.   The AG received more than 100 phone calls and over 1,200 written

 complaints about unlawful NYPD protest-related conduct during the first two

 months of the Protests.3

            69.   “Most of the complaints [the AG] received were about allegations of

 NYPD officers using excessive force against protesters, including use of batons and

 indiscriminate use of pepper spray, brandishing firearms at protesters, and pushing

 vehicles or bikes into protesters.”4

            70.   “The []AG received complaints and heard extensive testimony at its

 public hearing about a tactic NYPD used whereby officers surrounded and blocked

 protesters, preventing them from leaving an area without making direct contact with



 2
  New York State Office of the Attorney General, Preliminary Report on the New York City Police
 Department’s Response to the Demonstrations Following the Death of George Floyd (July 2020),
 https://ag.ny.gov/sites/default/files/2020-nypd-report.pdf.
 3
     Id. at 5.
 4
     Id.

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 police officers. According to witnesses, this practice often led to violent clashes

 between NYPD and protesters.”5

           71.    “The []AG received a significant number of complaints about troubling

 arrest-related practices, including, among others, using extremely tight zip ties to

 restrict hands, transporting protesters long distances to arrest processing centers,

 holding protesters for a significant amount of time after arrest, misgendering

 detainees, and holding protesters in cramped cells under unsafe conditions in light

 of the ongoing COVID-19 pandemic.”6

           72.    The NYC Department of Investigation made similar findings in a

 December 2020 report (“DOI Report”).7

           73.    The DOI Report concluded, inter alia, that “the force required to carry

 out a mass arrest was disproportionate to the identified threat, placed the burden of

 potential crime on a wide swath of people who had no apparent connection to that

 potential criminal activity.”8


 5
     Id.
 6
     Id.
 7
  New York City Department of Investigations, Investigation into NYPD Response to the George
 Floyd                       Protests                       (Dec.                      2020),
 https://www1.nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloy
 d%20Protests.12.18.2020.pdf.
 8
     Id. at 56.

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           74.   The Report also found that between May 28 and June 20, the Civilian

 Complaint Review Board (“CCRB”) received 1,646 protest-related complaint:

 “Force allegations comprised the largest number of allegations (1,052 in total).” 9

           75.   In September of 2020, Human Rights Watch issued a detailed analysis

 of a June 4, 2020 protest in the Mott Haven neighborhood of the Bronx (“HRW

 Report”)10. The report described the preplanned and coordinated disruption of the

 march by the NYPD, including by Chief Monahan who was at the protest.

           76.   The HRW Report describes the systematic “kettling” of protesters

 before the 8:00 p.m. curfew and NYPD’s use of excessive force and mass arrest of

 protestors, as well as medical workers and legal observers, who were classified as

 essential workers exempt from the curfew.

           77.   Numerous lawsuits, including one by the AG, have been filed

 challenging NYPD’s use of excessive force and unlawful detentions and arrests

 during the Protests. See, e.g., People of the State of New York v. City of New York,

 et al., 21-cv-0322, Doc. 51 (S.D.N.Y.) (First Amended Complaint).




 9
     Id.
 10
   Human Rights Watch, “Kettling” Protesters In The Bronx: Systemic Police Brutality And Its
 Costs In The United States (Sept. 2020), https://www.hrw.org/report/2020/09/30/kettling-
 protesters-bronx/systemic-police-brutality-and-its-costs-united-states.

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       78.      The AG’s Complaint details NYPD’s widespread use of excessive

 force against peaceful protestors during the Protests. For example:

             a. At a May 28 protest at Union Square, NYPD Officers repeatedly

       rammed their bicycles into peaceful protestors. Id. ¶¶ 128-132.

             b. At a May 29 protest in Clinton Hill, NYPD officers, without warning

       or provocation, repeatedly charged into a crowd of protestors and hit them

       with batons, causing at least one protestor to bleed profusely and sustain a

       concussion. Id. ¶¶ 133-138.

             c. On the same night, at a different protest in Bedford-Stuyvesant,

       Brooklyn, NYPD officers charged into a group of peaceful protestors gathered

       on a sidewalk, causing some to fall to the ground. As one protestor laid on the

       ground, a NYPD officer swung a baton overhead and hit the protestor, causing

       a two-inch laceration on her forehead that bled profusely. Id. ¶¶ 141-146.

             d. At a May 31 protest, on or around Broadway and East 11th Street in

       Manhattan, NYPD Officers in riot gear blocked the path of protestors and

       ordered them to disperse. Officers then charged into the crowd of protestors,

       striking them with their shields and batons. Id. ¶¶ 155-160.

             e. At a June 4 protest in the Mott Haven Neighborhood of the Bronx:



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                NYPD Officers, including at least one supervisor, sat on
                top of a parked car. Beneath them stood a large group of
                protesters who were barricaded in by NYPD Officers and
                prevented from exiting the area. The NYPD Officers
                perched on the car swung their batons at the heads of
                protesters standing below and dispersed pepper spray into
                the crowd. Id. ¶ 169.

                ...

                During the Protests, NYPD Officers engaged in a pattern
                or practice of using pepper spray indiscriminately against
                protesters who were not posing a threat to any individual
                or actively resisting arrest. Id. ¶ 171.

       79.      The AG’s Complaint details numerous other instances of NYPD

 officers using excessive force during the Protests, including indiscriminate use of

 pepper spray; striking protestors with batons and other objects; and shoving,

 ramming, and charging at protestors.

       80.      The AG’s Complaint also details NYPD’s widespread use of unlawful

 arrests during the Protests:

             a. Throughout the Protests, NYPD officers wrongfully arrested

       individuals exempt from the Curfew Orders, including legal observers,

       medics, jail support providers and other essential workers. Id. ¶¶ 262-323.

             b. At a June 3 protest in Midtown Manhattan, NYPD officers surrounded

       a group of peaceful protestors around East 54th and Third Avenue, and


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       without warning charged into protesters from all sides and used excessive

       force while making unlawful arrests. Id. ¶¶ 347-354.

             c. On June 4, in South Williamsburg, NYPD officers blocked the path of

       about 400 marching protesters. The Officers did not give protesters warning

       or a dispersal order before charging into the crowd, indiscriminately throwing

       protesters to the ground, beating them with batons, and arresting them. Id. ¶¶

       355-365.

             d. At a June 4 protest in Mott Haven, NYPD Officers surrounded

       protestors such that they were not able to leave, brutalized, and unlawfully

       arrested over 250 individuals. Id. at 366-387.

       81.      The DOI Report, AG Report, HRW Report, and lawsuits filed

 following the Protests document the NYPD’s persisting policy and practice of

 violently suppressing peaceful protest with excessive force and unlawful arrests.

    IV.      The NYPD Has a History of Responding to Peaceful Protests with
             Excessive Force and Unlawful Arrests. Defendant City of New York
             has Failed to Train, Supervise, Discipline, and Otherwise Take
             Measures to Stop this Unlawful Conduct from Occurring

       82.      NYPD’s response to the Protests was not unique. For at least the last

 two decades, the NYPD has engaged in the same unlawful policies and practice of




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 using excessive force and unlawful arrests to suppress large-scale protests. This

 misconduct is widely documented in prior lawsuits, complaints, and reports.

        83.     Following a 2003 anti-war protest, an investigation by the New York

 Civil Liberties Union (NYCLU) documented 198 accounts of excessive force by

 NYPD Officers, including the use of horses and batons to disperse crowds as well

 as indiscriminate pepper spraying. This investigation also documented the use of

 crowd control tactics such as physically preventing demonstrators from reaching

 their rally location, herding protesters into pens fashioned from metal barricades,

 and conducting mass arrests.11

        84.     NYCLU documented similar unconstitutional practices at protests of

 the 2004 Republican National Convention (“RNC”). NYCLU received over 200

 complaints from witnesses at the RNC protests and published a report finding that

 the NYPD “severely undermined” protesters’ rights through “mass arrests of

 hundreds of peaceful demonstrators and bystanders” and “the pervasive

 surveillance” of lawful demonstrators.12




 11
          N.Y.     Civil        Liberties       Union,       Arresting       Protest     (2003),
 https://www.nyclu.org/sites/default/files/nyclu_arresting_protest.pdf.
 12
      N.Y. Civil Liberties Union, Rights and Wrongs at the RNC (2005),
 https://www.nyclu.org/sites/default/files/publications/nyclu_pub_rights_wrongs_rnc.pdf.

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        85.     The CCRB, an independent NYPD oversight agency, conducted its

 own investigation and made similar findings regarding the RNC protest in a

 published report. CCRB found that then-Deputy Chief Monahan and another deputy

 chief failed to make their orders to disperse sufficiently audible, understandable, or

 with enough time to allow protesters to leave before effecting arrests, resulting in

 the mass arrest of nearly 250 protesters.

        86.     Following large-scale demonstrations in downtown Manhattan in 2011,

 known as the “Occupy Wall Street” protests, the Protest and Assembly Rights

 Project issued a 2012 report detailing 130 complaints of excessive or unnecessary

 force against protesters, bystanders, lawyers, legal observers, and journalists. These

 claims included over a dozen instances where officers interfered with independent

 monitoring by journalists and legal observers by threatening to or in fact arresting

 them, and the repeated use of kettling against peaceful protesters, which “inflamed

 tensions,” “caused confusion and panic,” and “chilled ongoing and future protest

 activity.”13




 13
    Protest & Assembly Rights Proj., Suppressing Protest: Human Rights Violations in the U.S.
 Response               to            Occupy              Wall           Street       (2012),
 https://cdn.theatlantic.com/static/mt/assets/politics/Suppressing%20Protest.pdf.

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           87.    In October 2015, the NYPD Office of the Inspector General (“NYPD-

 OIG”) issued a report assessing the NYPD’s use of force. It found that (1) the

 NYPD’s “use-of-force policy was vague and imprecise, providing little guidance to

 individual officers on what actions constitute force and providing insufficient

 instruction on de-escalation”; (2) the “NYPD’s training programs did not adequately

 focus on de-escalation”; and (3) the “NYPD frequently failed to impose discipline

 even when provided with evidence of excessive force.”

           88.    Despite repeated notice about the NYPD’s shortcomings in lawfully

 policing protests and the NYPD-OIG’s own report on training deficiencies in

 connection with the use of force, the NYPD’s recent conduct demonstrates that the

 City failed to correct these practices and adequately train its officers on

 constitutional policing during protests.

           89.    This was confirmed by a December 2020 DOI Report14, which found

 that prior to the Protests, the NYPD lacked standardized, agency-wide, in-service

 training related to policing protests.

           90.    The DOI Report specifically found that the NYPD lacked a sufficiently

 tailored strategy to respond to protests, used force and tactics of crowd control that



 14
      See supra n.7.

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 led to excessive force and “heightened tensions,” made decisions based on

 intelligence that lacked “context or proportionality,” and deployed officers who

 lacked sufficient training in responding to protests. 15

           91.     Similarly, a December 2020 report by the NYC Corporation Counsel

 uncovered that the NYPD failed to conduct “any protest-related after action-review”

 between (at earliest) the 2004 RNC protests and the Protests.16

           92.     After release of the NYC-DOI and Corporate Counsel reports, the City

 admitted that it failed to train NYPD officers in policing protests and to otherwise

 correct and prevent their misconduct.

           93.     In a December 18, 2020 video statement posted on social media, New

 York City Mayor Bill de Blasio acknowledged that he “agree[d] with [the NYC-

 DOI’s] analysis” and with its recommendations. He confirmed that New York City

 Police Commissioner Dermot Shea also agreed. He further admitted that “there were

 things that happened that were not about whether someone made the individual

 mistake, there were choices made, strategic choices, that weren’t good choices it




 15
      Id. at 36.
 16
     New York City Law Department, Corporation Counsel                  Report   (Dec.   2020),
 https://www1.nyc.gov/assets/law/downloads/pdf/ProtestReport-np.pdf.

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 turns out; that end up causing problems. And we have to come to grips with that. We

 have to train our police force differently.”

       94.     NYPD leadership also admitted that it failed to prepare NYPD Officers

 for the Protests. Now-retired NYPD Chief of Department Terence Monahan

 admitted after the Protests that “[a] lot of cops had not received disorder trainings

 since they first came on the job.”

       95.     This failure predictably led to constitutional violations. As NYPD Chief

 of Patrol Juanita Holmes stated in October 2020 about the Protests: “[i]f [the

 officers] [saw] something that they perceived to be a violation of the law, they

 arrested that person, not realizing that protests are allowed—that peaceful protests

 are allowed.” She further admitted that “we had officers that did things that never

 should have been done; that’s not in alignment with what we stand for as agency.”

       96.     Upon information and belief, the City has not disciplined the vast

 majority NYPD Officers who engaged in misconduct during the Protests.

                                CLAIMS FOR RELIEF

                              Claim I: Excessive Force
             Against Defendants City of New York and John Does #1 and #4
                 Fourth and Fourteenth Amendment, 42 U.S.C. § 1983

       97.      Plaintiff realleges the preceding paragraphs as if set forth here.



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       98.    Defendants John Does #1 and #4, acting under color of state law, used

 objective unreasonable force against Plaintiff Holloway, proximately causing injury.

       99.    NYPD’s practice and custom of using unreasonable force against

 protestors has and continues to be so persistent and widespread that it practically has

 the force of law, constituting a policy of Defendant City of New York. Moreover,

 despite being aware of the NYPD’s repeated use of excessive and unlawful force at

 protests, Defendant City of New York failed to train, supervise, discipline, or

 otherwise control NYPD officers, which constitutes deliberate indifference to the

 rights of protestors, including Plaintiff Holloway.

       100. Defendant City of New York’s policy, custom, or usage of using

 excessive, unjustified, and unreasonable force when policing protests was the

 moving force behind Plaintiff Holloway’s injuries.

       101. As a direct and proximate result of Defendants’ policies and unlawful

 conduct, Plaintiff Holloway suffered serious bodily injury, emotional distress and

 mental anguish, costs, and expenses, and was otherwise damaged and injured.

       102. Defendants John Does #1 and #4’s conduct was willful, wanton, and

 reckless, and of such a nature that punitive damages should be imposed against them.

                  Claim II: Unlawful Seizure and False Arrest
         Against Defendants City of New York and John and Jane Does #1-3
                       Fourth Amendment, 42 U.S.C. § 1983

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       103. Plaintiff reallege the preceding paragraphs as if set forth here.

       104. Defendants John and Jane Does #1-3, acting under color of state law,

 seized, detained, and arrested Plaintiff Holloway, restricting her freedom of

 movement, without privilege or lawful justification.

       105. Defendants could not reasonably believe that they had lawful cause to

 seize, detain, or arrest Plaintiff Holloway.

       106. Plaintiff Holloway was conscious of her confinement by Defendants.

       107. Plaintiff Holloway did not consent to confinement by Defendants.

       108. Thus, Defendants did not have suspicion or cause to seize, detain, or

 arrest Plaintiff Holloway.

       109. NYPD’s practice and custom of unlawfully seizing, detaining, and

 arresting individuals at protests has and continues to be so persistent and widespread

 that it practically has the force of law, constituting a policy of Defendant City of

 New York. Moreover, despite being aware of the NYPD’s use of unlawful seizures,

 detentions, and arrests at protests, Defendant City of New York failed to train,

 supervise, discipline, or otherwise control NYPD officers, which constitutes

 deliberate indifference to the rights of protestors, including Plaintiff Holloway.




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         110. Defendant City of New York’s policy, custom, or usage of unlawfully

 seizing, detaining, and arresting individuals at protests was the moving force behind

 Plaintiff Holloway’s injuries.

         111. As a direct and proximate result of Defendants’ policies and conduct,

 Plaintiff Holloway was deprived of liberty, suffered serious bodily injury, emotional

 distress and mental anguish, costs, and expenses, and was otherwise damaged and

 injured.

         112. Defendants John and Jane Does #1-3’s conduct was willful, wanton,

 and reckless, and of such a nature that punitive damages should be imposed against

 them.

                   Claim III: False Arrest and Imprisonment
         Against Defendants City of New York and John and Jane Does #1-3
         New York State Constitution, Article I, § 12 and New York State Law

         113. Plaintiff reallege the preceding paragraphs as if set forth here.

         114. Defendants John and Jane Does #1-3, who were acting within the scope

 of their employment with Defendant City of New York, seized, detained, and

 arrested Plaintiff Holloway, restricting her freedom of movement, without privilege

 or lawful justification.

         115. Defendants could not reasonably believe that they had lawful cause to

 seize, detain, or arrest Plaintiff Holloway.

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       116. Thus, Defendants did not have reasonable articulable suspicion or

 individualized probable cause to seize, detain, or arrest Plaintiff Holloway.

       117. Plaintiff Holloway was conscious of her confinement by Defendants.

       118. Plaintiff Holloway did not consent to confinement by Defendants.

       119. As a direct and proximate result of Defendants’ conduct, Plaintiff

 Holloway was deprived of liberty, suffered serious bodily injury, emotional distress

 and mental anguish, costs, and expenses, and was otherwise damaged and injured.

       120. Defendants committed these tortious acts within the scope of their

 employment, and therefore Defendant City of New York, as their employer, is

 responsible for their tortious conduct under the doctrine of respondeat superior.

                         Claim IV: Assault and Battery
           Against Defendants City of New York and John Does #1 and #4
                               New York State Law

       121. Plaintiff reallege the preceding paragraphs as if set forth here.

       122. Defendants John Does #1 and #4, who were acting within the scope of

 their employment with Defendant City of New York, knowingly, intentionally, and

 willfully committed assault and battery against Plaintiff Holloway.

       123. Defendants knowingly, intentionally, and willfully placed Plaintiff

 Holloway in apprehension of imminent harm and offensive bodily contact.



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        124. Defendants knowingly, intentionally, and willfully made an offensive

 contact against Plaintiff Holloway without privilege or consent.

        125. The assault and battery was without cause or justification, and was not

 the result of a lawful arrest.

        126. Plaintiff Holloway did not consent to the offensive contact.

        127. As a result of Defendants’ conduct, Plaintiff Holloway was placed in

 apprehension of imminent harm and offensive bodily contact and was subject to

 offensive bodily contact.

        128. As a direct and proximate result of Defendants’ conduct, Plaintiff

 Holloway suffered serious bodily injury, emotional distress and mental anguish,

 costs, and expenses, and was otherwise damaged and injured.

        129. Defendants committed these tortious acts within the scope of their

 employment, and therefore Defendant City of New York, as their employer, is

 responsible for their tortious conduct under the doctrine of respondeat superior.

       Claim V: Negligent and Intentional Infliction of Emotional Distress
        Against Defendants City of New York and John and Jane Does #1-4
                              New York State Law

        130. Plaintiff reallege the preceding paragraphs as if set forth here.

        131. Defendants John and Jane Does #1-4, who were acting within the scope

 of their employment with Defendant City of New York, intentionally and without

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 justification assaulted, battered, detained, and arrested Plaintiff Holloway.

 Defendants acted recklessly and with utter disregard for the consequences of their

 actions, which caused severe emotional distress to Plaintiff Holloway.

       132. Defendants’ actions exceeded all reasonable bounds of decency, were

 outrageous and shocking, and resulted in severe emotional distress, and other

 injuries, to Plaintiff Holloway.

       133. Defendants committed these tortious acts within the scope of their

 employment, and therefore Defendant City of New York, as their employer, is

 responsible for their tortious conduct under the doctrine of respondeat superior.

                              Claim VI: Negligence
        Against Defendants City of New York and John and Jane Does #1-50
                               New York State Law

       134. Plaintiff reallege the preceding paragraphs as if set forth here.

       135. Defendants John and Jane Does #1-50 owed a special duty of care to

 Plaintiff Holloway, whom they injured and/or witnessed being injured by other

 NYPD Officers. Defendants violated this special duty by failing to intervene to

 prevent injury, and by failing to seek and/or provide medical aid.

       136. NYPD Officers’ negligent failure to intervene and seek and/or provide

 medical aid to Plaintiff Holloway caused her further injury.



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       137. Defendants committed these tortious acts within the scope of their

 employment, and therefore Defendant City of New York, as their employer, is

 responsible for their tortious conduct under the doctrine of respondeat superior.

           Claim VII: Negligent Supervision, Retention, and Training
                      Against Defendant City of New York
                              New York State Law

       138. Plaintiff reallege the preceding paragraphs as if set forth here.

       139. Defendant City of New York failed to use reasonable care in the

 training and supervision of the NYPD Officers who assaulted, battered, falsely

 imprisoned, negligently injured, and violated the constitutional rights of Plaintiff

 Holloway.

       140. As a direct and proximate result of Defendant’s negligence, Plaintiff

 Holloway suffered serious bodily injury, emotional distress and mental anguish,

 costs, and expenses, and was otherwise damaged and injured.

                              CLAIMS FOR RELIEF

 WHEREFORE, Plaintiffs demand the following relief against Defendants:

    a. Compensatory damages in an amount to be determined at trial;

    b. Punitive damages against all Defendants except the City of New York in an
       amount to be determined at trial;

    c. Reasonable costs and attorneys’ fees under 42 U.S.C. § 1988;


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    d. Pre- and post-judgment interest to the fullest extent permitted by law; and

    e. Any additional relief the Court deems just and proper.


 DATED: this 9th Day of July 2021                    New York, New York


             /s/                                           /s/
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